The petitioner, the father of Richard Watts Burner, applied for this writ on the ground that the respondents, the judge of the superior court of San Diego County, sitting as judge of the juvenile court, and the probation officer of the juvenile court, were detaining said minor child and restraining him of his liberty without any right or authority so to do. The return shows that said child is in the custody of the probation officer by virtue of a commitment issued out of said juvenile court which is based upon a petition praying that said child be taken into custody as a dependent child. No facts such as are required by the statute to constitute said child a dependent child are stated in the petition. The order was made without jurisdiction, and said Richard Watts Burner is hereby ordered to be discharged from the custody of such probation officer. *Page 638 